Case 4:13-cv-02332 Document 10-7 Filed on 08/27/13 in TXSD Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

MARSOFT, INC.
Plaintiff,
CIVIL ACTION NO. 413CV2332

Vv.

UNITED LNG, LP, UNITED LNG
HOLDINGS, LLC, and STEPHEN PAYNE

JURY DEMANDED
Defendants,

V.

JOHN SPEER,

LO? UO0 On 607 Ge GOD GOR Ge Gon 6On 6G 6G Gon 6G Con CGD

Third Party Defendant
UNSWORN DECLARATION OF STEPHEN PAYNE

1. My name is Stephen Payne. I am above the age of 18 and competent to make this
unsworn declaration. Except as otherwise indicated the following facts are within my personal
knowledge and true and correct.

2, I am an individual and resident of Houston, Texas.

3. I am the managing member of United LNG Holdings, LLC, a Texas Limited
Liability Company.

4. United LNG Holdings, LLC is the general partner of United LNG, LP, a Texas
Limited Partnership.

2 As of August 27, 2013 at 9:30 a.m. I have not been served with process either in

my individual capacity or in a corporate representative capacity in this lawsuit.

Declaration of Steve Payne 1
Case 4:13-cv-02332 Document 10-7 Filed on 08/27/13 in TXSD Page 2 of 2

6. Evan A. Moeller of HIRSCH & WESTHEIMER, P.C. currently represents John Speer
and United LNG, LLC a Delaware Limited Liability Company in John Speer et al. v. Stephen
Payne et al. Cause No. 2013-07061 in the 165‘ Judicial District of Harris County, Texas a
lawsuit against myself and two other partners of United LNG, LP.

% At no time did I, in my capacity as the managing member of United LNG
Holdings, LLC, general partner of United LNG, LP authorize Evan A. Moeller of HIRSCH &
WESTHEIMER, P.C. to file an answer on behalf of United LNG Holdings, LLC or United LNG,

LP:

Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on g ~ Z e , 2013.

Stephen Payne c*

 

Declaration of Steve Payne 2
